       EXHIBIT
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

 LISA BENSON COOPER,                              )
                                                  )
                    Plaintiff,                    )
                                                  )
 v.                                               )         No. 17-00041-CV-W-BP
                                                  )
 E. W. SCRIPPS MEDIA, INC.,                       )
                                                  )
                    Defendant.
                                                  )



                            DECLARATION OF MARK P. JOHNSON
                       IN SUPPORT OF MOTION FOR ATTORNEYS FEES



            1. I, Mark Perrin Johnson, am an attorney admitted to practice in the State of Kansas,

State of Missouri, the United States Supreme Court, the United States Courts of Appeals for the

Eighth Circuit and Tenth Circuits, and the United States District Courts for the Western District

of Missouri and the District of Kansas. I graduated from the Harvard University Law School in

1980. I have practiced law in the Kansas City Metropolitan Area since 1980.

            2. After graduating from law school, I was an associate at Spencer, Fane, Britt & Browne

until January 1, 1987, when I became a partner in that firm. I was a partner with Spencer, Fane,

Britt & Browne until October, 1994, when I was one of the founding partners of the Kansas City

office of Sonnenschein, Nath & Rosenthal. Through two name changes, my firm is known today

as Dentons US LLP. Thus, I have been a partner in that firm for nearly twenty-five years. I was on

the Sonnenschein management committee from 2007 to 2011.

            3. In my practice I have developed expertise in a number of areas, including labor and

employment, employment litigation, telecommunications regulation, First Amendment, election


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law and campaign finance. I have taught at the University of Kansas since 2008, in the KU

Journalism School and Law School. I have taught a course on election law and campaign finance

in the Law School since 2010, and since the spring semester of 2017 I have taught a course on The

First Amendment in the Law School. In the undergraduate school, I have taught courses on The

First Amendment, privacy, and ethics. I have also annually taught a seminar to freshmen in the

KU Honors Program since 2010, on topics such as The Dust Bowl, the origins of free speech, and

privacy v. security.

            4. I have been listed as a Best Lawyer in Missouri in every edition of Best Lawyers in

America since 1995. In the forthcoming edition of the book, to cover the period 2019-20, I will be

included in three areas: Energy Law, First Amendment, and Public Utility Law.

            5. Since my admission to the bar, I have had substantial experience in civil litigation with

a concentration in labor, employment, civil rights, and voting rights cases. I have appeared before

many judges in the Western District of Missouri, including Judges Stevens, Gaitan, Wright,

Bartlett, Gibson, Hunter, Oliver, Sachs, and Laughrey. In the District of Kansas I have appeared

before Judges Rogers (before whom I tried my first case in 1981), Theis, Lungstrum, Vratil,

Robinson, Van Bebber, O'Connor, Murguia, and Crabtree. I estimate that I have tried 30 cases to

verdict or decision, and have handled several dozen other cases in state and federal courts in

Kansas and Missouri to summary disposition or settlement.

            6. As a result of my professional experience, I am personally familiar with the billing

practices of litigation firms and attorneys in the Kansas City Metropolitan Area. Attorneys in the

Kansas City Metropolitan Area who have experience similar to mine (39 years of practice in

numerous specialty areas, including civil litigation) routinely bill for their work at rates ranging

from $400.00 per hour to $750.00 per hour. Thus, the rates of $406.00 per hour for work performed



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in 2017 and $440.00 per hour for work performed in 2018 and 2019 that I seek in this case are

well within the market range for attorneys of my experience and in fact are materially less than I

usually charge for my time. In the absence of the work performed on this case, I would have

performed work for other clients at higher rates than the rates sought herein. The same may be

said for Kate Hart, an experienced associate attorney in my firm, who provided material work in

the case and whose time entries are contained in Exhibit A, as are my time entries. The rates for

Ms. Hart’s work ($250.00 per hour for work performed in 2017 and $325.00 for work performed

in 2018 and 2019) are well within the range for attorneys of her level of experience in the Kansas

City market.

            7. Since the beginning of my representation of the Defendant in this litigation, I have

consistently maintained contemporaneous paper and computerized time and billing records

reflecting the hours I have worked on this case. Throughout the course of this litigation, I have

reviewed my time records and have exercised professional billing judgment, eliminating

duplicative, unnecessary, and unproductive hours from my paper time slips and the computerized

billing documents that my firm maintains on this case. Exhibit A contains the invoices entries.

      8. Each of the time entries bearing my name truly and accurately reflects the services I

performed representing the Defendant in this matter. The time for which fees are sought in this

petition have been reduced from my total time expended in this case. Although more than 2,500

total hours were expended, I am only seeking fees for 203.5 hours resulting in an estimated

$86,929.02 defending against frivolous claims that Scripps contends are frivolous, groundless, or

without foundation in its fee petition. Upon review of my billing entries, I have determined that

these fees were incurred defending against such frivolous claims and would not have been incurred




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if those frivolous, groundless, or without foundation claims were not present in this action. The

fees sought are conservative figures.

      9. Each of the time entries bearing Ms. Hart’s name truly and accurately reflects the services

she performed representing the Defendant in this matter. The time for which fees are sought in

this petition have been reduced from her total time expended in this case. Although more than

1,000 total hours were expended, she is only seeking fees for 74.4 hours resulting in an estimated

$22,410.00 defending against frivolous claims that Scripps contends are frivolous, groundless, or

without foundation in its fee petition. Upon review of her billing entries, I have determined that

these fees were incurred defending against such frivolous claims and would not have been incurred

if those frivolous, groundless, or without foundation claims were not present in this action. The

fees sought are conservative figures.

      10. The first category of claims that Scripps contends are frivolous are those for defending

against the state-law Missouri Human Rights Act claims that Plaintiff did not submit to the jury.

For those claims, I incurred $43,464.51 in fees through January 2019. For those same claims, Ms.

Hart has incurred $11,205.00 in fees through January 2019.

      11. The second category of claims that Scripps contends are frivolous are those for defending

against the Leadership Champion claim. For those claims, I incurred $43,464.51 in fees through

January 2019. For those same claims, Ms. Hart incurred $11,205.00 in fees through January 2019.




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